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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3068
           v.                        )
                                     )
RODNEY LEE HEROLD,                   )
                                     )                   ORDER
                Defendants.          )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion to continue, filing 13, is granted
and the change of plea hearing is continued to August 3, 2006 at
1:30 p.m. before the undersigned magistrate judge in Courtroom 2,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska.

     2. The time between the filing of the motion and August 3,
2006 is excluded from the calculation of time required by the
Speedy Trial Act, because trial preparation includes a reasonable
amount of time to consider possible settlement options. Failure
to grant the continuance would unreasonably deny counsel for the
defendant adequate time to reasonably prepare effectively for
trial, taking into consideration due diligence. 18 U.S.C. §
3161(h)(8)(A) and (B)(iv). The ends of justice served by
granting the defendant’s request for additional time to meet his
need for counsel who is prepared for trial therefore outweigh the
best interests of the public and the defendant in a speedy trial.

     3.   Defendant shall appear at the hearing.

     DATED this 19th day of July, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
